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                                    W ESTERN DISTRICT 0/ VIRGINIA            '
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      ELIZABETH SINES,etal.,                          Case N o.3:17-cv-00072-N K M

                      Plaintiffs,                     Hon.N orman K .M oon



      JASON KFSSLER,etal.
                      Defendants.


                     D E CLA M TIO N O F K Y LE CH A PM A N IN SUPPO R T O F
                  FM TER N AL O R DER O F ALT -K N IG H TS'M O TIO N TO DISM ISS

               1,K yle Chapm an,declare and state:

                      On December21,2017,1wajpersonally served with theinitialStmlm onsand

      Complaintin Oakland,Califolmiac/oFraternalOrderoftheAlt-lonights(FOAK).
                      OnJanuary 10,2018,twasservedwiththeFirstAmendedComplaintviaU.S.
      postalcertified m ailatm y residence in D aly City,California.

                      FOAK isaloosely created grassrootsocialm edia Facebook Group and/orTwitter

      handle. However,thereisno officialFacebook Group orTwitterhandle. Any FOAK Facebook

      group orTw itterhandle w ere created by individuals otherthan m yself. 1did notcreate orrun

      any Facebook group orTwitterhandle.Norhave1directed anyoneelseto createornm any

      offcialFOAK Facebook group orTwittbrhandle. ln fact,a search forFOAK willeasily yield

      multiplegroupsorhandleswith similarorsame namesthatarein noway affiliatedwith each

      other.

                      FOA K does notcondtlctany business,forprofitorotherw ise.

                      FOA K does nothave an Officialm em bership process nordoes itcollectany dues

      Orpqym ents.
Case 3:17-cv-00072-NKM-JCH Document 203 Filed 01/26/18 Page 2 of 2 Pageid#: 1031




                FOAK neverhad an office,agentorpropel'
                                                     ty in Virginia.Norisitcapableof

  holding property.

                FOAK neverreached intoVirginiato solicitorinitiatebusiness,including

  creating a Virginia Facebook Group orTwitterhandle.

         8.     FOAK doesnottransact.orperform any activitiesin Virginia.

         9.     lfthere wereany FOAK m embersatthe Charlottesrallieson oraboutM ay 13,

  June,July 8,August11 or12,2017,they attended them on theirown accord andnotasa

  representative ofFOA K orm yself.

         10.    1personally w as noteven atany ofthe Charlottesville rallies on any ofthe dates

  referenced in thecomplaint,including M ay l3,June,July 8,August11ér12,2017.ln fact,1

  have nevereven been to the state ofV irginia.

                InvictusSolAgustusno longerassociateswith FOAK. Upon inform ation and

  removed him selfasam emberofthe FOAK Facebook group on oraboutNovem ber,2017.

         IdeclareunderpenaltyofperjuryunderthelawsoftheUnitedStatesandtheStateof
  Virginiathatthe foregoing istrue and correct.

         Executed this 26th day ofJanuary,2018,in Daly City,California.




                                                             K yle Chapm an
